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           EXHIBIT 25
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Analysis of Scheduled Airline Traffic
COMPARATIVE TRAFFIC REPORT                                                                                            San Francisco International Airport
Jul 2024

                                                                                    Monthly Comparison                                          Calendar Year-to-Date
                                                                 Jul 2024              Jul 2023         % Change                        2024            2023     % Change
Air Traffic Control Tower Operations Count1                         34,199                34,648              -1.3%                   214,039         219,520        -2.5%
                Air Carrier                                         31,700                31,304               1.3%                   197,121         195,976        0.6%
                Air Taxi                                              1,774                 2,615            -32.2%                    11,659          17,881       -34.8%
                Civil                                                   519                   516              0.6%                     3,665            4,049       -9.5%
                Military                                                206                   213             -3.3%                     1,594            1,614       -1.2%


Total Revenue Landings                                              15,752                19,533             -19.4%                    98,847         103,285        -4.3%
      Mainline Passenger                                            12,937                12,636               2.4%                    78,172          76,677        1.9%
      Commuter Passenger                                              2,590                 6,671            -61.2%                    19,128          25,117       -23.8%
      Cargo Only                                                        225                   226             -0.4%                     1,547            1,491       3.8%


Revenue Landed Weight (000 lbs.)                                3,212,113              3,485,518              -7.8%              20,109,819         19,772,916       1.7%


Total Airport Passengers2                                       4,999,594              4,968,650               0.6%              29,496,618         28,392,893       3.9%

Total Enplaned & Deplaned                                       4,980,094              4,952,664               0.6%              29,408,988         28,314,207       3.9%
      Total Enplaned                                            2,451,730              2,419,322               1.3%              14,661,880         14,106,022       3.9%
      Total Deplaned                                            2,528,364              2,533,342              -0.2%              14,747,108         14,208,185       3.8%

Domestic                                                        3,378,733              3,495,490              -3.3%              20,288,590         20,422,268       -0.7%
      Enplanements                                              1,680,554              1,727,174              -2.7%              10,136,547         10,193,497       -0.6%
      Deplanements                                              1,698,179              1,768,316              -4.0%              10,152,043         10,228,771       -0.8%

International                                                   1,601,361              1,457,174               9.9%               9,120,398          7,891,939      15.6%
      Enplanements                                                 771,176               692,148              11.4%               4,525,333          3,912,525      15.7%
      Deplanements                                                 830,185               765,026               8.5%               4,595,065          3,979,414      15.5%


Total U.S. Mail (metric tons)                                         1,139                 1,228             -7.2%                     7,797          11,779       -33.8%
      Domestic                                                          421                   744            -43.4%                     3,740            8,366      -55.3%
      International                                                     718                   484             48.3%                     4,057            3,413      18.9%


Total Cargo3 (metric tons)                                          49,410                41,509              19.0%                   314,923         251,839       25.0%
      Domestic                                                      16,921                14,501              16.7%                   109,873          96,595       13.7%
      International                                                 32,489                27,008              20.3%                   205,050         155,244       32.1%


Total Cargo and U.S. Mail (metric tons)                             50,550                42,738              18.3%                   322,720         263,618       22.4%


Cars Exited (Garage and Lot)                                       287,272               300,538              -4.4%               1,854,188          1,824,050       1.7%

1
    Categories defined as follows:
         Air Carrier - Commercial airlines and charters of aircraft with more than 60 seats (Terminal and FBO operations included).
         Air Taxi - Commercial airlines and charters of aircraft with 60 seats or less (Terminal and FBO operations included).
         Civil - Privately operated aircraft
         Military - Military Aircraft
2
    Total airport passengers include total enplaned and deplaned passengers and passengers who fly into and out of SFO on the same aircraft.
3
    Excludes mail




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Analysis of Scheduled Airline Traffic
INTERNATIONAL SUMMARY REPORT                                                                                 San Francisco International Airport
Jul 2024


                                                                              Monthly Comparison                                        Calendar Year-to-Date
                                                               Jul 2024            Jul 2023      % Change                       2024                2023    % Change
International Flight Operations                                     7,504              7,274             3.2%                 45,764               39,558      15.7%
Domestic Carriers                                                   2,910              2,810             3.6%                 18,848               15,972      18.0%
Foreign Flag Carriers                                               4,594              4,464             2.9%                 26,914               23,586      14.1%


Total Airport International Passengers **                      1,616,669          1,471,046              9.9%              9,194,110           7,960,371       15.5%

Total International Enplaned and Deplaned                      1,601,361          1,457,174              9.9%              9,120,398           7,891,939       15.6%

   Europe                                                        485,805             464,355             4.6%              2,320,922           2,272,264        2.1%
      Enplanements                                               230,322             212,524             8.4%              1,173,884           1,136,944        3.2%
      Deplanements                                               255,483             251,831             1.5%              1,147,038           1,135,320        1.0%

   Asia/Middle East                                              616,287             516,296           19.4%               3,964,675           3,060,188       29.6%
      Enplanements                                               293,996             245,077           20.0%               1,947,007           1,501,075       29.7%
      Deplanements                                               322,291             271,219           18.8%               2,017,668           1,559,113       29.4%

   Australia/Oceania                                              83,362              86,359            -3.5%                585,490             513,412       14.0%
      Enplanements                                                42,419              44,403            -4.5%                285,771             251,209       13.8%
      Deplanements                                                40,943              41,956            -2.4%                299,719             262,203       14.3%

   Latin America                                                 189,250             168,688           12.2%               1,164,609           1,006,217       15.7%
      Enplanements                                                93,421              84,203           10.9%                 577,927             500,976       15.4%
      Deplanements                                                95,829              84,485           13.4%                 586,682             505,241       16.1%

   Canada                                                        226,657             221,476             2.3%              1,084,702           1,039,858        4.3%
      Enplanements                                               111,018             105,941             4.8%                540,744             522,321        3.5%
      Deplanements                                               115,639             115,535             0.1%                543,958             517,537        5.1%


Total International Cargo & Mail (metric tons)                    33,208              27,493           20.8%                 209,107             158,657       31.8%
   Europe                                                           6,781              5,566           21.8%                  44,392               40,147      10.6%
   Asia/Middle East                                               22,925              19,479           17.7%                 143,111             102,814       39.2%
   Australia/Oceania                                                3,416              2,172           57.3%                  21,047               14,011      50.2%
   Latin America                                                       68                  57          19.7%                      346                 323       7.1%
   Canada                                                              17                 219         -92.1%                      211               1,362      -84.5%



** Total airport international passengers include total enplaned and deplaned passengers and passengers who fly into and out of SFO on the same aircraft




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